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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
 SYDNEY DILLARD,                        )
                                        )
                                        )
           Plaintiff,                   ) Case No.: 1:20-cv-7760
                                        )
v.                                      ) Honorable John Robert Blakey
                                        ) Magistrate Judge Heather K. McShain
DEPAUL UNIVERSITY,                      )
                                        )
           Defendant.                   )



     DR. DILLARD’S RESPONSE IN OPPOSITION TO DEPAUL’S MOTION
MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 Sydney Dillard,

      Plaintiff,

 v.                                                              Case No: 1-20-cv-7760

 DePaul University,                                             Judge Blakey

      Defendant.                                                Jury Trial Demanded



        PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’
MOTION AND MEMORANDUM IN SUPPORT OF THEIR MOTION FOR SUMMARY
                         JUDGMENT (DKTS.)

            Plaintiff, Sydney Dillard (“Dr. Dillard” or “Plaintiff”), by and through her undersigned

counsel responds as follows to Defendant DePaul University’s (“DePaul”) Motion and

Memorandum for Summary Judgment (“MSJ” or “Motion”).

      I.       INTRODUCTION


            Dr. Dillard, an African American woman with a disability, filed her charge of

discrimination on June 26, 2018, under Title VII. Her claims, timely and substantial, include: 1)

discriminatory terms and conditions of employment; 2) unfair rejection as PRAD chair; 3) unequal

pay; 4) a persistent hostile work environment; and 5) failure to promote, coupled with pay

discrimination and workplace hostility. These claims, detailed below, paint a clear picture of

discrimination.


      II.      FACTUAL BACKGROUND




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       DePaul University is the largest Catholic institution in Chicago (DSOF ¶4; PSOF ¶2).

DePaul is an Equal Opportunity Employer and maintains an Employee Handbook that sets forth

its equal employment opportunity policy and relevant policies prohibiting discrimination based on

race or disability. (DSOF ¶¶ 9, 77). At all times relevant, the various colleges operate under the

overarching authority of Salma Ghanem, the University Provost (DSOF ¶7). Within the College

of Communication, Alexandra Murphy serves as the Dean of the PRAD, endowed with substantial

decision-making powers, including the authority to remove department chairs and influence

promotion decisions, often based on faculty recommendations (DSOF ¶8). At DePaul, academic

success is typically contingent on excellence in three key areas: research, teaching, and service

(DSOF ¶¶13-14). These factors are the basis for any promotion as a DePaul professor. Id. Tenure-

track faculty members are expected to spread their time between these categories. The career path

for post-tenure academics is never straight and narrow.

       Sydney Dillard is a fully tenured Associate professor at DePaul University in its College

of Communications. (PSOF ¶¶ 1, 29). Dr. Dillard is the only African-American woman who is a

tenured-tracked faculty member in DePaul’s College of Communication. (PSOF ¶29). Defendant’s

racial and disability discrimination has thwarted Dr. Dillard’s career trajectory. Specifically, while

at DePaul, Plaintiff was not provided the same opportunities as other non-African American or

non-disabled tenure-track faculty members were provided, which will continue to impact her

future career in higher education (PSOF ¶¶19, 22, 24).

       The evidence demonstrates a glaring absence of checks and balances in DePaul’s

management, particularly in handling issues pertaining to race and disability. (see below). Dr.

Dillard endeavored to persevere despite these challenges, but the cumulative effect of such




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disparities began to impact her health severely and caused the onset of her seizure disorder. (PSOF

¶¶80-81, 83).

       Dr. Dillard was forced to teach face-to-face classes against her Neurologist’s

recommendation. (PSOF ¶¶85, 88). Dr. Dillard was forced to go on temporary disability when

DePaul’s accommodations went against her Doctor’s orders. (PSOF ¶84; Exhibit G - Dr. Cristea

Dep. p. 97)(“See where it says ‘Needs accommodations for work? See the ‘needs’ in all capitals?

That implies to me that they weren’t being followed, the fact that I highlighted it that way...”).

Additionally, Dr. Dillard requested additional preparation time for course development and was

given less time than her able-bodied counterparts when they received their teaching schedules

approximately three months in advance. Id. While she was on leave, her short-term disability claim

was denied based on DePaul’s failure to supply a job description for her case, which resulted in

Dr. Dillard being on unpaid leave. Id. Ultimately, she received back pay, but that does not

underscore the additional stress she faced when DePaul refused to honor her neurologist’s

recommendation to teach online temporarily, which forced her to take leave and not be paid until

she was back to work. (PSOF ¶ ¶84-85). Dr. Dillard’s disability is life-long, and she has incurred

and will continue to incur costs and experience lifelong limitations because of this disability.

(PSOF ¶84).

       Furthermore, the evaluation process has been applied less stringently to non-African

American employees, evidenced by their faster attainment of tenure and the support provided to

them. (PSOF ¶50) In contrast, despite Dr. Dillard's perfect scores and positive student feedback,

she was not afforded the same level of assistance or recognition, raising serious questions about

the equity of the evaluation system (PSOF ¶¶25 - 26, 30). She has undergone multiple formal and

informal reviews that exceed the norm set out by the University's own policies. (PSOF ¶¶12, 16-




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17) The implication of such a pattern is that it creates an environment where faculty from African

American groups may be unfairly scrutinized and hindered in their career progression at DePaul

University (PSOF ¶¶14, 16, 18-19, 50). Moreover, Dr. Dillard has observed differential treatment

in evaluating faculty performances. (PSOF ¶18) This differential treatment extended to career

advancement opportunities, where non-African American colleagues were afforded opportunities

to lead and chair search committees—opportunities not extended to Dr. Dillard, despite similar

qualifications and precedents within the University (PSOF ¶¶17-18).

       At DePaul, tenure-track faculty are evaluated with terms ranging from unsatisfactory to

excellent, and the College of Communication guidelines require annual formal evaluations if prior

reviews raise concerns about a faculty member's reappointment. (PSOF ¶¶7-10, 13) Despite this,

Dr. Dillard was subjected to an unusually high number of probationary reviews—four in total—

creating a question of fact for a jury to determine whether a discriminatory slant in the application

of the evaluation process exists. (PSOF ¶¶12, 14-15, 16). This is in stark contrast to the typical two

formal pre-tenure reviews experienced by her peers (PSOF ¶¶14, 12, 15, 18-19).

       Dr. Dillard's first formal review in 2013 showed strong support for her reappointment, with

no indications of questionable reappointment. (PSOF ¶ 17). Nevertheless, she was required to

undergo additional formal reviews, whereas similarly situated non-African American faculty

members were not subjected to the same rigorous scrutiny, despite having areas identified for

improvement in their own reviews and comparative evaluations. (PSOF ¶¶ 11, 12). This disparity

highlights a troubling inconsistency that suggests an unequal application of the tenure and

promotion process (PSOF ¶¶19-20, 24).

       DePaul's College of Communication has fostered an environment where U.S. born African

American women, like Dr. Dillard, are systematically disadvantaged, facing disparate treatment




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and isolation (PSOF ¶¶18-19, 22, 24, 50). The University has repeatedly disregarded pleas for

assistance from African American faculty members, showcasing a troubling trend of preferential

treatment toward individuals not belonging to protected classes (PSOF ¶¶25-27, 49). Specifically,

Dr. Dillard has voiced her concerns about this differential treatment, particularly in the context of

teaching evaluations, where her achievements were frequently overlooked. Id. The impact

of such an evaluation process, as described by Dr. Dillard, has been disproportionately

burdensome for faculty of color, affecting not only their career trajectory but also their health and

overall experience at DePaul University (PSOF ¶¶18, 27-28, 31-32, 50).

       Dr. Dillard's experiences at DePaul are indicative of broader patterns of discrimination

deeply embedded within the institution:

       1. Racial Discrimination and Bias in Tenure and Promotion: The process for tenure and

promotion within DePaul's College of Communication has demonstrated inconsistent application,

with U.S. born African American women subjected to more stringent reviews and obstacles

compared to their white counterparts. (PSOF ¶¶ 18-19, 22, 24, 50).

       2. Impact on Career Advancement: The barriers erected by DePaul University have not

only impeded Dr. Dillard's pursuit of tenure but have also broadly hindered her professional

development and prospects within the academic community PSOF ¶¶18-19, 22, 24, 50).

       3. Institutional Culture: DePaul's College of Communication has fostered an environment

where U.S. born African American women, like Dr. Dillard, are systematically disadvantaged,

facing disparate treatment and isolation. (PSOF ¶¶ 18, 25-27).

       4. Failure to Address Concerns: The University has repeatedly disregarded pleas for

assistance from African American faculty members, showcasing a troubling trend of preferential

treatment toward individuals not belonging to protected classes (see below). The egregious




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discrimination is further exemplified by the denial of Dr. Dillard's request to teach online courses

temporarily, as medically advised due to her seizure disorder (see below). The pretext for this

denial, ostensibly low teaching evaluations, lacks substantive justification and strongly suggests

discriminatory motives. (DSOF ¶¶17, 40-41, 45).

       Dr. Dillard became more vocal in her efforts to secure equal treatment for herself and her

fellow employees (PSOF ¶¶25, 30, 31, 33, 36-48). Specifically, in June 2018 both Dr. Dillard and

               sent an anonymous email complaint to OIDE expressing concerns about

“discrimination toward several members of the College of Communication's tenure-track faculty”

who “are women, of color, and of U.S. origin.” (PSOF ¶ 25). The letter noted that “the most

disturbing component is the use of subjective performance evaluative criteria that has caused harm

to the women who are tenure-track Latina and/or African-American faculty, of U.S. origin” and

these criteria “have become a method of intimidation and, in many ways, reinforces the prejudices,

unconscious or not, which Congress in Title VII sought to eradicate as a basis for employment and

misuse.” Id. OIDE responded to the anonymous email with follow-up questions, which Dr. Dillard

responded to with answers, but OIDE did not perform a follow-up investigation. (PSOF ¶ 88). Drs.

         and Dillard met with Dr. Ghanem during a two-hour meeting to address the issues of

racial discrimination that they faced in October 2018 (PSOF ¶¶ 36-48). Dr. Dillard also discussed

the issues related to her disability with Dr. Ghanem. (PSOF ¶¶ 40). By the Fall of 2019, the DePaul

University environment had further deteriorated, marked by a series of events related to race and

gender discrimination, including a townhall where DePaul students, faculty, and staff confronted

institutional racism (DSOF ¶30). Drs. Dillard and              never had a meaningful follow-up

conversation with Dr. Ghanem about how to rectify the racial disparities amongst the college.

(PSOF ¶¶ 49, 51).




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          Dr. Dillard's response to these disparities initially involved attempts to persevere (PSOF

¶¶82-84). However, the cumulative impact on her health led to the onset of grand mal seizures

(PSOF ¶80). Dr. Dillard then faced combined racial and disability discrimination. (DSOF ¶¶ 50,

51). Dr. Dillard also faced disability discrimination when DePaul arbitrarily denied her request to

temporarily teach online courses, as medically advised due to her seizure disorder (PSOF ¶¶79,

85; DSOF ¶ 90). The pretext for this denial, her purported low teaching evaluations, lacks

substantive justification and strongly suggests discriminatory motives. (DSOF ¶¶17, 40-41, 45).

DePaul has provided no facts indicating that low teaching evaluations mandate face-to-face

classroom teaching. Id.

          Dr. Dillard’s experiences at DePaul University, marked by racial and disability

discrimination, represent a profound failure on the part of the institution to uphold the principles

of equality, inclusivity, and fairness. (PSOF ¶¶31,34, 35, 49). The evidence presented

demonstrates not only a violation of legal standards under the ADA and Title VII but also a breach

of an academic institution's ethical and moral responsibilities. The evidence will show that the

barriers erected by DePaul University not only impeded Dr. Dillard's pursuit of tenure but have

also broadly hindered her professional development and prospects within the academic community

(PSOF ¶87). Therefore, DePaul University’s motion for summary judgment should be denied,

allowing these critical issues to be fully examined and addressed in a trial setting.

   III.      LEGAL STANDARD

          Summary judgment is a drastic remedy and is proper when the movant shows that there “is

no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a). A “material” fact affects the outcome of the suit. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). In determining whether a genuine issue of material fact




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exists, courts must construe all facts in the light most favorable to the non-moving party and draw

all reasonable and justifiable inferences in that party’s favor. Jackson v. Kotter, 541 F.3d 688, 697

(7th Cir. 2008). At summary judgment, “a court may not make credibility determinations, weigh

the evidence, or decide which inferences to draw from the facts; these are jobs for a fact finder.”

See Joll v. Valparaiso Community Schools, 2020 WL 1316688, at *4 (7th Cir. 2020). “Trials are

stories, not syllogisms. Accordingly, the court must try to focus on the most persuasive story

possible on the nonmovant's behalf when asking whether a verdict in her favor would be reasonable

or could result only from irrational speculation.” Id.

         The Seventh Circuit Court of Appeals maintains the view that a heightened level of scrutiny

should be applied on a motion for summary judgment in an employment discrimination case

because issues of intent and credibility are generally involved. See, e.g., Webb v. Clyde L. Choate

Mental Health and Dev. Ctr., 230 F.3d 991, 997 (7th Cir. 2000); Talanda v. KFC Nat’l Mgmt. Co.,

140 F.3d 1090, 1095 (7th Cir. 1998); EEOC v. RJB Props., Inc., 857 F. Supp. 2d 727, 739 (N.D.

Ill. 2012). Plaintiff is not required to prove its case at summary judgment. Instead, she must come

forward with some facts that could arguably entitle her to judgment. Belour v. Adapt of Ill., Inc.,

460 F.Supp.2d 867, 873 (N.D. Ill. 2006).

   IV.      ARGUMENT

         Federal civil rights laws apply to employment in the academy on the same terms that they

apply to employment in any other sector of the economy. Mawakana v. Bd. of Trs. of Univ. of D.C.,

926 F.3d 859, 864–65 (D.C. Cir. 2019) (university not entitled to special deference where in a case

where the fundamental question is whether it acted in good faith); Goswami v. DePaul Univ., No.

12–cv–7167, slip. op. at pages 2–3, 2015 WL 251304 at *1 (N.D. Ill. Jan. 20, 2015) (denying

DePaul’s motion for summary judgment in a tenure denial case).




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       DePaul, the movant, has the burden of establishing that there is no genuine dispute as to

any material facts. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). DePaul has not met its

burden. DePaul focuses on selecting discrete facts and characterizing them in its own favor.

Contrary to DePaul’s approach, “facts must be viewed in the light most favorable to and all

reasonable inferences must be drawn in favor of the non-moving party.” Baines v. Walgreen Co.,

863 F.3d 656, 661 (7th Cir. 2017). The Court must not make credibility determinations, as these

are the jury's province. Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150-51 (2000).

   Notwithstanding all of the foregoing, DePaul spends the majority of its brief arguing (i) that

Dr. Dillard achieved tenure and was not damaged and (ii) dismissing the adverse employment

actions against Dr. Dillard’s as “workplace trivialities.” (Dkt. 106 pp. 11, 13). Dr. Dillard does not

ask the Court to re–evaluate her tenure file. Dr. Dillard asks the Court to review the record

developed during discovery and determine whether a jury could find that DePaul—acted with

discriminatory animus in connection with Dr. Dillard’s race and disability. As the Court evaluates

Dr. Dillard’s claims, it must keep in mind that this evidence is admissible as part of the totality of

circumstances and as circumstantial evidence supporting her claims of discrimination.

A. PLAINTIFF’S TITLE VII CLAIMS ARE SUPPORTED BY A FACTUAL RECORD
DEMONSTRATING THAT A REASONABLE JURY COULD FIND IN HER FAVOR

       Dr. Dillard alleges that, in violation of Title VII, she was discriminated against because of

her race, Black, and disability. (DSOF Tab B-2 Exhibit 1 – Second Amended Complaint). Title

VII prohibits an employer from "discriminat[ing] against any individual with respect to his

compensation, terms, conditions, or privileges of employment, because of such individual's race,

color, religion, sex, or national origin." 42 U.S.C. § 2000e-2(a)(1). In discrimination cases, "[w]hen

a defendant moves for summary judgment, the 'singular question' for the district court is whether

the plaintiff has introduced evidence that would 'permit a reasonable factfinder to conclude that



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the plaintiff's race, ethnicity, sex, religion, or other proscribed fact caused the discharge or other

adverse employment action." Purtue v. Wisconsin Dep't of Corr., 963 F.3d 598, 602 (7th Cir.

2020), reh'g denied (July 31, 2020) (citations omitted). Whether a plaintiff offers direct or

circumstantial evidence of discrimination, the Seventh Circuit made clear in Ortiz v. Werner

Enters., Inc. that "all evidence belongs in a single pile and must be evaluated as a whole." 834 F.3d

760, 766 (7th Cir. 2016). When reviewing the facts under the framework established by Ortiz, the

evidence "must be considered as a whole, rather than asking whether any particular piece of

evidence proves the case by itself." Id. at 765.

       One way of proving discrimination is the burden-shifting method of McDonnell Douglas

v. Green, 411 U.S. 792 (1973). Under that approach, a plaintiff must make a prima facie showing

of discrimination by showing that: (1) she belongs to a protected class; (2) she met her employer’s

legitimate expectations; (3) she suffered an adverse employment action; and (4) another similarly

situated employee outside the protected class received better treatment A plaintiff may provide

either direct or indirect evidence of discrimination. Igasaki v. Ill. Dep’t of Fin. & Pro. Regul., 988

F.3d 948, 957 (7th Cir. 2021) (citations omitted). If the plaintiff makes that prima facie showing,

the burden shifts to the employer to offer a nondiscriminatory motive, and, if the employer does

so, the burden shifts back to the plaintiff to show the motive was pretextual. Id. A plaintiff need

not use the McDonnell Douglas framework. Id. Whether direct or indirect, all evidence “must be

evaluated as a whole.” Id. (quoting Ortiz v. Werner Enters., Inc., 834 F.3d 760, 766 (7th Cir.

2016)). The question is whether “the totality of the evidence shows discrimination, eschewing any

framework or formula.” Id. at 958.

       Defendant claims that Dr. Dillard’s Title VII claim is time-barred. It is undisputed that Dr.

Dillard attained tenure. (DSOF ¶5). Dr. Dillard’s allegations of discrete acts of racial




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discrimination occurred within the limitations period, and her related hostile work environment

claim demonstrate a sufficient connection between events within and without the period such that

they form "a single course of conduct." Cartwright v. Silver Cross Hosp., Case No. 15-cv-6759,

6-7 (N.D. Ill. Apr. 30, 2018). In assessing that nexus, courts examine similarities between the

challenged employment actions, look for the involvement of similar personnel, and consider any

gap in time between the alleged discriminatory acts. Id. at 8 (N.D. Ill. Apr. 30, 2018). Throughout

her Second Amended Complaint, Dr. Dillard describes her experience with discrimination as

applying differential treatment between non-African American professors and African American

professors.

    1. DePaul’s Motion Should be Denied Under Ortiz.

        To oppose a summary judgment motion in a Title VII discrimination case, a plaintiff must

present evidence that a reasonable factfinder could attribute the adverse employment action to a

proscribed factor like race or disability. Ortiz v. Werner Enters., 834 F.3d 760, 765-66 (7th Cir.

2016)). Under Ortiz, the legal standard is simply whether the evidence would permit a reasonable

factfinder to conclude that the plaintiffs protected class caused the discharge or other adverse

employment action. Ortiz, 834 F.3d at 765. “Few discrimination cases are so straightforward -

indeed they are often factually complex and require sifting through ambiguous pieces of evidence.”

Judge Easterbrook noted. Id. at 765. If there is a “conflict on material issues, a trial is necessary.”

Id. at 766.

        In this case, Dr. Dillard's experiences transcend mere workplace trivialities, as argued by

the Defendant. Dr. Dillard has identified conflicts on material issues that must be weighed by a

jury. Dr. Dillard established that Drs. Ghanem and Murphy were aware of her claims of

discrimination, yet they did not take further action to investigate her concerns. Specifically, Dr.




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Dillard addressed the disparities in teaching evaluations between African-Americans and non-

African-Americans. (SOAF ¶29). The essence lies in what a reasonable jury could deduce when

examining the entirety of the evidence (Ortiz, 834 F.3d at 765-66).

   2. DePaul’s Motion Should be Denied Under McDonnell-Douglas.

       Dr. Dillard can establish indirect discrimination via the McDonnell Douglas burden-

shifting method. McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973). Dr. Dillard

demonstrates her prima facie case. She is unquestionably a member of a protected class, both as

an African American and as an individual with a disability. She has consistently met her employer's

expectations, as evidenced by her qualifications and performance. The adverse actions she faced

include being unfairly passed over for the PRAD Program Chair position, going through additional

formal and informal reviews for tenure, and receiving unequal pay compared to her peers. Each

will be discussed in turn.

       Defendants suggest that any discrimination against Dr. Dillard has been minimal and thus

must be disregarded, ignoring that Title VII covers not just terms and conditions in the narrow

sense, “but ‘envinces a congressional intent to strike at the entire spectrum of disparate treatment

. . . in employment.’” Meritor Savings Bank, FSB v. Vinson, 477 U.S. 57, 64 (1986)(“[T]he

language of Title VII is not limited to "economic" or "tangible" discrimination. The phrase "terms,

conditions, or privileges of employment" evinces a congressional intent "`to strike at the entire

spectrum of disparate treatment of men and women'" in employment. (internal citations

omitted).”).

       However, all that is required for an adverse action in disparate treatment cases is a showing

that the action “materially affects the terms, conditions, or privileges of employment.” Chuang v.

Univ. of Cal. Davis, 225 F.3d 1115, 1126 (9th Cir. 2000) (holding that forcible relocation of




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Chuang’s laboratory was an adverse action). This is different from a tangible job action which

requires an official act that consists of a significant change in employment status. Pennsylvania

State Police v. Suders, 542 U.S. 129, 137-38 (2004).

       Accordingly, wage discrimination counts as an adverse action, since it is discrimination

with respect to compensation. See, e.g., Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (“‘The

phrase “terms, conditions, or privileges of employment” evinces a congressional intent “to strike

at the entire spectrum of disparate treatment of men and women” in employment,’ which includes

requiring people to work in a discriminatorily hostile or abusive environment.” (citations omitted)

a) Evaluations:

       There are additional material disputes regarding the amount of formal and informal reviews

that Dr. Dillard had to undergo before she achieved tenure. Evidence of such discriminatory

behaviors is corroborated by similar experience of similarly situated colleagues at the CNM

College. (Overlaying all of this evidence is also the negative or silent treatment from the top

administrators constantly ignoring and disregarding Dr. Dillard’s complaints for racial

discrimination. Furthermore, similarly situated colleagues who were not African American or

disabled were treated more favorably, indicating discriminatory practices. Thus, the reasons for

subjecting Dr. Dillard to additional reviews and arbitrarily denying her promotions for career

advancement are conflicting and pretextual.

       b) PRAD CHAIR:

       It is undisputed that Plaintiff: (1) belongs to a protected class, (2) applied for and was

qualified for a leadership position for which the employer was seeking applicants, (3) despite being

qualified, she was rejected, and (4) after her rejection, the former program chair who had stepped

down was asked to serve another term. McDonnell Douglas Corp. v. Green, 411 U.S.792, 802




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(1973). The PRAD chair position was a leadership position that would have allowed Dr. Dillard’s

career to advance into other administrative positions. (PSOF ¶¶56).

       Additionally, a jury could easily find sufficient evidence of pretext because DePaul has

failed to produce a legitimate, non-discriminatory reason why it deviated from the PRAD chair

voting protocol. The then-current program-chair,            announced she would not be seeking

another term. (PSOF ¶¶ 54, 55, 62) The search committee opened the position up to faculty

nominations. Dr. Dillard was the only person who accepted a nomination for the PRAD program

chair position. (PSOF ¶ 56). She self-nominated herself and was also nominated by another

colleague. Id. Dr. Dillard was qualified for the PRAD chair position. (PSOF ¶¶ 60, 63-64).

       Dr. Murphy failed to report the inappropriate statements made about Dr. Dillard’s disability

(DSOF ¶67), and Dr. Murphy failed to escalate Dr. Dillard’s concerns of racial discrimination.

(PSOF ¶ 77). The faculty “feeling rushed’ and “revamping” the position is not supported by fact.

(PSOF ¶72). Dr. Murphy deviated from the proper protocol in the PRAD chair vote and her

subsequent actions. (PSOF ¶¶ 57-59, 60-62, 65-66, 68, 74). The timeline never changed for voting

on the PRAD chair, and the record is silent on whether faculty had complained in the past about

feeling rushed. (PSOF ¶ 72). Dr. Murphy could have but chose not to overturn the PRAD chair

vote. (PSOF ¶67) Next, Dr. Murphy testified that no additional meetings were discussed to

“revamp” the position. (PSOF ¶67). Lastly, in recent years, the PRAD school enrollment was

smaller than in the past, so the responsibilities would have decreased, not increased. (PSOF ¶ 89).

The PRAD Program Chair position was open again, and Dr. Dillard was asked to apply for it. Dr.

Dillard decided not to self-nominate for the position because she was never given a reason why

her collogues originally voted her down for the position, and she felt too humiliated to run again.

(PSOF ¶70). Dr. Murphy told her about another leadership position but then retracted that option




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as the deadline had already passed. (PSOF ¶70). All of these facts, in the aggregate, are enough to

create a genuine issue of fact on the question whether DePaul’s proffered reasons are pretextual.

Koski v. Standex Intern. Corp., 307 F.3d 672, 676-77 (7th Cir. 2002).

       c. Evaluations:

       Dr. Dillard’s evaluations throughout her tenure review process were inaccurate, applying

differing standards when compared to similarly situated non-African American peers. (PSOF ¶¶

14, 15-19, 23). Additionally, there appear to be several instances where a jury could conclude that

Dr. Dillard’s reviews were arguably inaccurate or at least seemed to apply a different standard for

evaluating which put a negative spin on the facts (PSOF ¶22). Goswami v. DePaul Univ., No. 12

C 7167, 13 (N.D. Ill. Jan. 20, 2015). For example, during her first formal review what is called

the “First Probationary Review,” Dr. Dillard was held to a standard of needing scores 4.0 or higher

when her reviews noted “the college looks for ratings in the 4 range.” (PSOF ¶¶18, 22). Prior to

this review, the College of Communication expressly stated that language regarding the college

means should not be included in the review. Id. Her scores being below the college mean were

noted unfavorably four times in one review, though the same was not included for non-

African Americans with consistent scores below 4.0. Id. Another example of the inaccuracy of

Dr. Dillard’s evaluations can be found in her fourth-year review in which another similarly

situated, non-African American tenure-track faculty member received praise for receiving perfect

scores of 5.0 on 12 teaching measures, while Dr. Dillard received no specific inclusion after

receiving perfect scores of 5.0 on 65 teaching measures during her review. Id. Instead, Dr. Dillard

was subjected to an additional formal review. Id.

       If it seems inescapable that the plaintiff scored lower on numerical student evaluations, the

legitimacy of those evaluations as a measure of teaching quality should be investigated. A growing




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body of literature suggests that such numerical evaluation devices reflect societal prejudices,

especially with regard to women. See, e.g., Yartzoff v. Thomas, 809 F.2d 1371, 1376 (9th Cir.

1987)(“[t]ransfers of job duties and undeserved performance ratings, if proven, would constitute

‘adverse employment decisions’”); Strother v. Southern California Permanente Group, 79 F.3d

859, 869 (9th Cir. 1996) (exclusion from meetings, denial of administrative support, and transfer

of duties deemed adverse actions); Martin, Elaine, Power and Authority in the Classroom: Sexist

Stereotypes in Teaching Evaluations, Signs, pp. 482–492, Spring 1984; Basow, S.A. and Silberg,

N.T., Bennett, S.K., Student Perceptions of and Expectations for Male and Female Instructors:

Evidence Relating to Questions of Gender Bias in Teaching Evaluations, 74 J. of Educational

Psychology 170–79 (1982).

   B. DR. DILLARD ESTABLISHES A CLAIM FOR A HOSTILE WORK
      ENVIRONMENT - RACE, MAKING SUMMARY JUDGMENT
      INAPPROPRIATE

       To demonstrate actionable workplace harassment, Dr. Dillard must show that she

subjectively perceived the work environment to be hostile or abusive and that the harassment was

sufficiently severe or pervasive that a reasonable person would perceive it as such, i.e., that it was

objectively hostile or abusive. E.g., Williams v. General Motors Corp., 187 F.3d 553, 563 (6th Cir.

1999). To succeed on a claim for hostile environment, a plaintiff must demonstrate that: (1) he was

subject to unwelcome harassment; (2) the harassment was based on race (or another protected

category); (3) the harassment was severe or pervasive to a degree that altered the conditions of

employment and created a hostile or abusive work environment; and (4) there is a basis for

employer liability. Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 66–72, 106 S.Ct. 2399, 91

L.Ed.2d 49 (1986); Johnson v. Advocate Health & Hosps. Corp., 892 F.3d 887, 900–01, 2018 WL

2753066, *8 (7th Cir. June 8, 2018).




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       Following Rodgers v. Western-Southern Life Ins. Co., 12 F. 3d 668 (7th Cir. 1993), hostile

work environment claims are analyzed under a two-step analysis: The existence of racial

harassment in a hostile work environment involves an application of facts (the specific

discriminatory conditions alleged by the plaintiff) to law (the standards governing the existence of

racial harassment and hostile work environment discrimination) (Daniels v. Essex Group, Inc., 937

F.2d 1264, 1269 (7th Cir.1991)). The impact of work behavior “often depends on a constellation

of surrounding circumstances, expectations, and relationships.” Oncale v. Sundowner Offshore

Servs., Inc., 523 U.S. 75, 81–82 (1998); Harris v. Forklift Systems, 510 U.S. 17, 23

(1993)(requiring a look at the totality of the circumstances in hostile work environment cases).

       In assessing whether the workplace was objectively hostile, factors to be considered

include the frequency of the discriminatory conduct, its severity, whether it was physically

threatening or humiliating or merely an offensive utterance, and whether it unreasonably interfered

with work performance. Johnson, 892 F.3d at 900–01, 2018 WL 2753066 at *8; Scruggs v. Garst

Seed Co., 587 F.3d 832, 840 (7th Cir. 2009). “Whether harassment was so severe or pervasive as

to constitute a hostile work environment is generally a question of fact for the jury.” Id. If a

reasonable jury could find that the conduct was severe or pervasive, then the claim must go to trial.

Even if individual acts of harassment do not create an actionable hostile work environment on their

own, their accumulated effects may create one.

       Defendants make a point that she has not been called any racially derogatory terms (to her

face). A holistic analysis that considers the aggregate effect of all categories of unlawfully

motivated harassment, whether it overtly referenced a protected trait (e.g., disability) or not, is

required. U.S. Equal Emp't Opportunity Comm'n v. Big Lots Stores, Inc., Civil Action No. 2:17-

CV-73, 11 (N.D.W. Va. Sep. 27, 2018). DePaul fails to consider the totality of its conduct.




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Defendant’s position misconstrues Dr. Dillard’s hostile environment claim and ignores that it is

“abundantly clear that Title VII tolerates no racial discrimination, subtle or otherwise.” McDonnell

Douglas Corp., 411 U.S. at 801. Dr. Ghanem, Dillard’s supervisor, asked Dr. Dillard if she could

touch her hair during a work meeting in front of her colleagues. Dr. Dillard was avoided and

isolated by her colleagues after being excluded from an important program meeting discussion.

Dillard observed Dr. Ghanem omit only African American tenure-track faculty from the college’s

farewell presentation and announcements. (DSOF ¶ 89). Dr. Dillard’s competency and abilities

were constantly questioned as opposed to her non-African American, non-disabled

counterparts. When she requested disability accommodations for an international course she

was teaching in China, Dr. Murphy, her supervisor falsely assumed and stated “she didn’t

speak mandarin before the seizures...I don’t see how now, not speaking the language

is a necessary accommodation.” Dr. Dillard does speak Mandarin. Even after being

employed for over six years, Dr. Dillard’s procedural knowledge on hiring practices

was questioned by colleagues with one year ’s experienced, until verified by her

supervisor. (PSOF ¶89) When Dr. Dillard utilized one of her approved disability

accommodations to remove herself during a m e e t i n g d u e t o d i z z i n e s s a n d

overstimulation, she w a s s u b s e q u e n t l y d e s c r i b e d a s “aggressive”, “storming out,”

a n d “ b u l l y - l i k e , ” b y a colleague and leadership team members. (PSOF ¶76). Once

D r. D i l l a r d d e v e l o p e d t h e c o u r a g e t o s p e a k u p a b o u t h e r e x p e r i e n c e s , s h e

submitted numerous official complaints of discrimination to her supervisors, OIDE,

and DePaul’s human resource department over the course of a year, which either

w e n t a ) u n a n s w e r e d , b ) uninvestigated, or c) questioned on how she “would like to

proceed.” Even though no one ever called Dr. Dillard are derogatory racial term to

her face, it does not underscore the discriminatory behavior

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that she felt as discrimination tends to be much more subtle in an academic setting such as a

university. (PSOF ¶ 39). All are sufficient to create a triable issue for a jury on whether the

harassment was severe or pervasive enough to constitute a hostile work environment. Robinson v.

Perales, 894 F.3d 818, 828 (7th Cir. 2018). The conventional wisdom is that academic personnel

are too sophisticated to make blatantly sexist or racist remarks. However, this view underestimates

the insensitivity of at least some university teachers and administrators. See, e.g., Jew v. University

of Iowa, 749 F. Supp. 946, 64 Ed. Law Rep. 84, 57 Fair Empl. Prac. Cas. (BNA) 647, 55 Empl.

Prac. Dec. (CCH) ¶ 40443 (S.D. Iowa 1990).

          Defendant does not dispute that Dr. Dillard subjectively perceived her workplace as hostile.

Instead, DePaul focuses on whether the harassment was sufficiently severe or pervasive, arguing

the harassment was inadequate to establish an objectively hostile work environment. (Dkt. 106 p.

11). Defendant’s assertion is based entirely on a flawed legal assumption, i.e., that only incidents

that involve overt racial references to Dr. Dillard’s race or seizure disorder are relevant to the

hostile work environment, and all other offensive, pervasive, severe, and humiliating harassment

to which Dr. Dillard was subjected by her abuser should be ignored because those acts did not

expressly reference her race or disability. Id. The federal courts have repeatedly found that far less

significant harassment established an objectively hostile work environment. See, e.g., MacVaugh

v. County of Montgomery, 301 F. Supp.3d 458, 46667 (E.D. Pa. 2018) (holding plaintiff’s

allegations of being chastised in meetings, criticized … and being falsely accused of sleeping on

the job and fired in response to a request for leave sufficient to state hostile work environment

claim).

          Defendant's reliance on Boss v. Castro, 816 F.3d 910 (7th Cir. 2016), is inapposite due to

glaring factual distinctions. In Boss, the plaintiff faced comparatively minor workplace issues,



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such as being placed on a performance improvement plan, providing documentation for time off,

and rescheduling a single day of telework. While he did receive an unfavorable performance

review that lowered his rating from "highly successful" to "fully successful," this change bore no

tangible job consequences. Furthermore, Boss failed to establish a causal link between these

actions and his filing of an EEOC complaint, falling short on the element of causation. 816 F.3d

at 919).

       In contrast, Dr. Dillard's circumstances involve a markedly more severe set of challenges.

She was not merely subjected to increased formal academic reviews but was also the sole professor

rejected for a chair position at the College of CMN. (PSOF ¶¶ 7-10, 12, 22, 23, 26). Dr. Dillard

also complained about poor treatment by faculty (related to her race and disability) to both Drs.

Ghanem and Murphy, about which nothing was done. (PSOF ¶). Dr. Dillard was arbitrarily

precluded from participating in the meeting discussion to “revamp” the PRAD position and was

the only professor in the college of communication to be voted down. (PSOF ¶). Dr. Dillard was

uncomfortable speaking about any issues she was experiencing given the culture of complacency

that she experienced. (PSOF ¶). Dr. Dillard’s onset of a seizure disorder and exacerbated symptoms

including depression, dizziness, dislocated shoulders, light sensitivity, and anxiety among others,

was caused the by Defendant’s work environment. (PSOF ¶). These cumulative actions

collectively create an environment that would deter any reasonable faculty from making a

complaint in the first place. Furthermore, a reasonable jury could find that the Defendants

subjected Dr. Dillard to a hostile work environment and failed to take prompt remedial actions.

The gravity and frequency of the adverse actions taken against her far exceed the scope of what

was at issue in the Boss case, making it an inappropriate precedent to rely upon in this context.




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       The Supreme Court has recognized that “[a] discriminatorily abusive work environment .

. . can and often will detract from employees’ job performance, discourage employees from

remaining on the job, or keep them from advancing in their careers,” Harris, 510 U.S. at 22. Here,

the discrimination that Dr. Dillard faced has demoralized and negatively impacted her well-being.

(PSOF ¶¶86-88). As set forth below, despite her successes through her own perseverance, a jury

could find that Dr. Dillard has experienced a hostile work environment.

   1. Defendants failed to take prompt remedial action.

       Defendants can be held liable for harassment “where the employer either ratifies or

acquiesces in the harassment by not taking immediate and/or corrective actions when it knew or

should have known of the conduct.” Folkerson v. Circus Enters., Inc., 107 F.3d 754, 756 (9th Cir.

1997). Further, “[T]he employer’s corrective measures must be reasonably calculated to end the

harassment; the reasonableness of the corrective action will depend on, inter alia, the employer’s

ability to stop the harassment and the promptness of the response.” Freitag v. Ayers, 468 F.3d 528,

539–40 (9th Cir. 2006), as amended (Nov. 3, 2006) (internal quotation marks omitted).

Effectiveness is measured not only by ending the current harassment but also by “deterring future

harassment—by the same offender or others. If 1) no remedy is undertaken, or 2) the remedy

attempted is ineffectual, liability will attach.” Fuller v. City of Oakland, Cal., 47 F.3d 1522, 1528–

29 (9th Cir. 1995) (internal citation omitted).


       Dr. Dillard, a qualified individual with an ADA-recognized disability (seizure disorder),

has experienced a hostile work environment due to her seizure disorder, fulfilling the criteria set

forth in Clemons v. Dart, 168 F. Supp. 3d 1060 (N.D. Ill. 2016). The unwelcome harassment she

endured, based on her disability, was sufficiently severe to alter the conditions of her employment.

Notably, comments like “does she even work here” when approaching 8 years of employment or



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references to her frequent leaves are demonstrative of the hostility she faced. (DSOF ¶67). This

hostile environment is a direct violation of the ADA's provisions and has significantly impacted

Dr. Dillard's employment experience at DePaul University.


       Throughout the relevant time period, Dr. Dillard consistently raised concerns about

discrimination (racial and disability), bias, and the looming fear of retaliation. (PSOF ¶¶24, 25, 33,

37). Dr. Dillard has demonstrated that DePaul was well aware of her complaints of discrimination,

as Drs. Ghanem and Murphy were privy to these concerns. (PSOF ¶¶ 28, 33, 35, 36-37, 39, 73-75,

77-78). Even though Dr. Dillard initially lodged an anonymous complaint, that alone do not

absolve DePaul of its responsibility to address the ongoing allegations of discrimination. Any

remedial actions undertaken by DePaul were both insufficient and frustratingly slow in their

implementation, failing to meet the threshold of prompt, appropriate corrective action. (PSOF ¶¶

27, 34, 38, 51, 77). When Dr. Dillard requested additional meetings for clarification on hiring

processes and procedures, she was described as aggressive and bully-like in emails between non-

black College of Communication leadership team members. (PSOF ¶76). None of the leadership

within the CMN—including Dr. Murphy and Dr. DeMoya—took any training to handle

complaints about discrimination and diversity. (PSOF ¶34). Notably, DePaul never explicitly

condemned the accusations of racial discrimination, nor did it acknowledge them as improper,

thereby conveying a response that could be construed as complicit at best. Jew v. University of

Iowa, 749 F. Supp. 946, 959 (S.D. Iowa 1990). Consequently, there is no doubt that DePaul bore

a duty to promptly implement corrective measures aimed at terminating the hostile environment.

A reasonable jury could easily conclude that DePaul failed in fulfilling this duty. DePaul cannot

credibly deny that it has long been aware of pervasive race-based issues within its ranks.




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   2. Evidence of the broader culture and climate at DePaul is relevant circumstantial
      evidence supporting Dr. Dillard’s claims.

       Evidence of the broader culture and climate at DePaul, and specific evidence of

discrimination or retaliation against other DePaul employees/students, is relevant and admissible

support for Dr. Dillard’s claims that the Court must consider on summary judgment. The

composition of the College of Communication’s leadership further illustrates a concerning lack of

diversity. None of the program chairs in the four key areas of the college are African American, a

fact that is not only noteworthy but indicative of a broader pattern of exclusion at the leadership

level within the College (PSOF ¶4). Evidence of discrimination of others can be admissible

circumstantial evidence of discrimination. See Sprint/United Mgmt. Co. v. Mendelsohn, 552 U.S.

379, 388 (2008). “Recognizing that ‘[t]here will seldom be ‘eyewitness’ testimony as to the

employer’s mental processes,’ the Supreme Court held that evidence of the employer’s

discriminatory attitude in general is relevant and admissible to prove race discrimination.” Heyne

v. Caruso, 69 F.3d 1475, 1480 (9th Cir. 1995) (citations omitted); see also Spulak v. K Mart Corp.,

894 F.2d 1150, 1156 (10th Cir. 1990) (“As a general rule, the testimony of other employees about

their treatment by the [employer] is relevant to the issue of the employer’s discriminatory intent.”).

       Finally, there is admissible evidence of Defendants’ discriminatory attitude in general and

toward other employees. See Heyne, 69 F.3d at 1480; Sprint/United Mgmt., 552 U.S. at 388. In

addition to the broad culture and climate issue discussed here, this includes: (1) another employee’s

concerns about DePaul’s discrimination and retaliation … Clearly, considering the above

cumulatively, and from the perspective of a reasonable black woman, a jury could find a pervasive

and escalating environment “making it more difficult for her to do her job, to take pride in her

work, and to desire to stay on in her position.” Steiner v. Showboat Operating Co., 25 F.3d 1459,

1463 (9th Cir. 1994). Moreover, there have been various lawsuits filed against DePaul in the past



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five (5) years alleging racial discrimination including: Cho v. DePaul University, 1:2018cv08012;

Calvente v. Ghanem et al 1:2020cv03366; Hill v. DePaul University, 1:2022cv06990.

   C. SUMMARY JUDGMENT IS INAPPROPRIATE AS TO DR. DILLARD’S
      DISABILITY CLAIM BECAUSE A RATIONAL JURY COULD CONCLUDE
      THAT THE DEFENDANTS DISCRIMINATED AGAINST HER BASED ON HER
      DISABILITY.

       Dr. Dillard has asserted that DePaul University engaged in discriminatory behavior by

failing to provide reasonable accommodations for her disability, a claim supported by the

provisions of 42 U.S.C. § 12112(b)(5)(A) under the Americans with Disabilities Act (ADA). The

ADA prohibits discrimination against "a qualified individual with a disability" as it applies to

hiring and firing. 42 U.S.C. §1211(a). Prohibited discrimination also includes "not making

reasonable accommodations." 42 U.S.C. §12112(b)(5)(A).

   1. Plaintiff’s Failure to Accommodate Claim Survives

       Claims that allege a failure to accommodate necessarily involve direct evidence. To

establish a failure to accommodate claim under the ADA, Dr. Dillard must demonstrate: (1) she is

a person with a disability for purposes of the ADA; (2) DePaul is covered by the statute and had

notice of her disability; (3) with reasonable accommodation, Dr. Dillard could perform the

essential functions of the job at issue; and (4) DePaul has refused to make such an accommodation.

§ 12112(b)(5)(A); US Airways, Inc. v. Barnett, 535 U.S. 391 (2002).


       It is well-established that “[w]hether a particular function is essential is a factual

determination that must be made on a case-by-case basis [based upon] all relevant evidence.”

Turner v. Hershey ChoDePaulate U.S., 440 F.3d 604, 612 (3d Cir. 2006) (citations omitted). This

determination is highly fact-specific. Courts may consider the amount of time spent on a particular

function; the employer's judgment; job descriptions; the consequences of not requiring the




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employee to perform the particular function; and other factors. 29 C.F.R. § 1630.2(n)(3);

Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 761 (1998). The employer's judgment receives

some weight in the analysis, but it is not absolutely determinative, especially when an employee

puts forth competing evidence. This fact-specific inquiry is typically left for the jury to decide.

Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 761 (1998); Oross v. Kutztown Univ., Civil Action

21-5032, 39 (E.D. Pa. Jul. 25, 2023).


   2. DePaul Failed the Interactive Process


       The ADA places an unequivocal obligation on employers to provide "reasonable

accommodations" to employees with disabilities unless undue hardship can be proven (42 U.S.C.

§12112(b)(5)(A). After an employee discloses a disability, the ADA obligates the employer to

engage in an "interactive process" to determine appropriate accommodations. Gile v. United

Airlines, Inc., 213 F.3d 365, 373 (7th Cir.2000). Specifically, the employer must 'identify the

precise limitations resulting from the disability and potential reasonable accommodations that

could overcome those limitations. Reasonable accommodations may include "making existing

facilities used by employees readily accessible to and usable by individuals with disabilities" (§

12111(9)).

       Importantly, the choice of a reasonable accommodation rests with the employer, and they

are not obligated to provide the specific accommodation requested by the employee. Jay v.

Intermet Wagner, Inc., 233 F.3d 1014, 1017 (7th Cir.2000). However, an employer only violates

the ADA if it fails to provide reasonable accommodations to known physical or mental limitations

of a qualified individual with a disability. Id. The duty of reasonable accommodation requires the




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employer to do what is necessary to enable the disabled worker to work in reasonable comfort.

Beck v. Univ. of Wisc. Bd. of Regents, 75 F.3d 1130, 1137 (7th Cir.1996).

       It is undisputed that Dr. Sydney Dillard meets the first two elements required for a failure

to accommodate a claim under the Americans with Disabilities Act (ADA). Dr. Dillard possesses

an ADA-recognized disability: she has a seizure disorder. (PSOF ¶79). Dr. Dillard's request for

accommodations, including adjustments to her work environment and the option to teach online,

shifted the burden to DePaul to demonstrate the unreasonableness or undue burden associated with

such accommodations.


       Defendant first argues that Dr. Dillard’s claim fails because she could not perform the

essential job functions of her position with or without accommodation. DePaul argues that teaching

in person is an essential job function. Dkt. # at . To show that she is otherwise qualified for her

position, Dr. Dillard must show that she could perform the essential functions of the job with or

without an accommodation. A job function is essential if its removal would fundamentally alter

the position." But here, Dr. Dillard’s ability to teach online remained unimpaired, and she could

perform all the essential functions of her job. Given her inability to drive and the risk of fainting

during in-person classes, opting for online teaching emerges as the most logical and reasonable

accommodation.

       Pursuant to the United States Supreme Court in U.S. Airways, Inc. v. Barnett, 535 U.S.

391, 400, 122 S.Ct. 1516, 152 L.Ed.2d 589 (2002), is that an employer must, at the very least,

furnish an accommodation that effectively mitigates the limitations imposed by a disabled

employee's condition. DePaul University's limited interactive process consisted primarily of

offering options that did not address Dr. Dillard's core issues: her inability to commute and her

susceptibility to fainting. None of the options provided were reasonable in light of her condition.



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Dr. Dillard's doctor's note and explicit statements left no room for misunderstanding - she needed

an accommodation to facilitate her access to her work. DePaul's failure to provide meaningful

participation in the interactive process cannot be excused. E.E.O.C. v. Sears, Roebuck & Co., 417

F.3d 789, 807–08 (7th Cir. 2005).

       DePaul's assertion that its facilities were "readily accessible to and usable by" Dr. Dillard,

despite being aware of her transportation challenges and health concerns, defies common sense

and runs afoul of established legal precedent. Vande Zande v. State of Wisc. Dep't of Admin., 44

F.3d 538, 546 (7th Cir.1995).

       DePaul 's argument asserting the provision of reasonable accommodations falls short of

addressing the essence of Dr. Dillard’s needs. Instructing Dr. Dillard to take a short-term disability

or reduce her courseload are not accommodating actions by DePaul. Maertens v. JAC Prods. Inc.,

Civil Case No. 2:19-cv-12236, 10 (E.D. Mich. Jan. 14, 2021)(Merely telling Maertens to find

another way to get to work is not an accommodating action by JAC.”),

       The Defendant bears the responsibility of presenting specific circumstances that

convincingly demonstrate undue hardship in the particular situation. Here, the record is devoid of

any undue hardship that Dr. Dillard’s request for accommodation would cause. This is clearly

evidenced by DePaul’s pre-existing infrastructure for remote learning and teaching exclusively

remote classes during the Covid-19 pandemic, which unequivocally showcases the feasibility of

accommodating her needs. DePaul's approach to the interactive process, primarily consisting of

offering alternative options that failed to align with Dr. Dillard's specific needs, falls short of the

ADA's mandate for meaningful participation in this process. E.E.O.C. v. Sears, Roebuck & Co.,

417 F.3d 789, 807–08 (7th Cir. 2005). Tellingly, providing a panic button in a classroom does no

good to someone who has already fainted – and failed to address the core issue: Dr. Dillard’s




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inability to commute due to her medical condition, having dizzy or fainting spells, or possibly a

seizure. Dr. Dillard's doctor's note, in conjunction with her explicit statements, left no room for

ambiguity or misinterpretation; she required an accommodation to teach online that would enable

her to access her workplace effectively. The duty of reasonable accommodation squarely rests

upon the employer, and DePaul's apparent reluctance to provide an accommodation that would

have facilitated Dr. Dillard's ability to work comfortably is evident. Vande Zande v. State of Wisc.

Dep't of Admin., 44 F.3d 538, 546 (7th Cir. 1995).

       Moreover, the Defendant's reliance on the argument that regular attendance at the job site

is an essential function fails to apply universally to all positions and circumstances. Whitaker v.

Wisconsin Dept. of Health Services, 849 F.3d 681 (7th Cir. 2017). For example, Montague v.

United States Postal Service (5th Cir., June 28, 2023), the court reinforced the idea that while

regular work attendance is often considered an essential function, it should be subject to an

individualized assessment under the ADA. This ruling aligns with Dr. Dillard's argument that

DePaul University failed to evaluate her unique circumstances on an individual basis, opting

instead to deny her accommodation based on a generalized policy of teaching evaluations that were

too low to teach online courses.

       Dr. Dillard's request for a temporary transition to remote teaching should not be

misconstrued as an abdication of her job responsibilities. Instead, it represents a reasonable

adjustment necessitated by her management of a seizure disorder. DePaul University has failed to

furnish any credible indication that temporarily allowing Dr. Dillard to teach her courses online

was an infeasible proposition, given that the essential infrastructure was already in place. In Oross

v. Kutztown Univ., Civil Action 21-5032 (E.D. Pa. Jul. 25, 2023), the court found that teaching in

person and conducting office hours in-person were not essential functions of the job. This




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precedent is directly applicable to Dr. Dillard's case, as DePaul University has similarly failed to

provide evidence that in-person teaching is an essential function of her role. Dr. Dillard, like

Professor Oross, can fully perform the essential functions of her job remotely, as evidenced by her

previous success in online teaching.

       Dr. Dillard's is also factually similar to the case Maertens v. JAC Products, Inc. [E.D. Mich

2021], where an employee grappled with a medical condition that temporarily rendered him unable

to commute to work. In both instances, a doctor's note substantiated the necessity for remote work

as a reasonable accommodation, albeit for distinct periods. Notably, in Maertens, the employee

initially sought permission to work remotely but faced resistance from the employer, akin to Dr.

Dillard's initial request for accommodation in the form of temporary remote teaching due to her

seizure disorder. Dr. Dillard's willingness to adapt and continue fulfilling her job responsibilities

parallels the employee's commitment in Maertens to explore alternative ways to commute to work.

The crux of the matter in both cases revolved around the feasibility of effectively performing the

job remotely. The Maertens court denied summary judgment based on the competing testimonies

and unclear job description. Dr. Dillard's case echoes this emphasis on the need for individual

assessment, as she argues that DePaul University failed to comprehensively evaluate her unique

circumstances, instead relying on a generalized policy to deny her accommodation. This Court

should similarly consider the fact-specific nature of these cases and refrain from granting summary

judgment prematurely.

       Furthermore, the legal landscape has recognized the potential reasonableness of remote

work as an accommodation even before the era of COVID-19. See Samper v. Providence St.

Vincent Med. Ctr., 675 F.3d 1233, (9th Cir. 2012) 1237-38 (collecting cases) [“regular attendance




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is not necessary for all jobs”]; Waggoner v. Olin Corp. 169 F.3d 481, 485 (7th Cir. 1999) (“In

some jobs . . . working at home for a time might be an option”).

        To establish a hostile work environment action under the ADA, Dr. Dillard must show that

(1) she was disabled; (2) she was subject to unwelcome harassment based on his disability; (3) the

harassment unreasonably interfered with her work performance and created a hostile work

environment; and (4) DePaul knew or should have known about the harassment and failed to take

corrective measures. In order to establish a hostile work environment, a workplace must have been

"permeated with discriminatory intimidation, ridicule, and insult that is sufficiently severe or

pervasive to alter the conditions of the victim's employment and [to] create an abusive working

environment." Harris v. Forklift Systems, Inc., 510 U.S. 17, 21 (1993).

        Dr. Dillard proved by a preponderance of the direct evidence that a discriminatory motive,

bias against her based on her disability, which was a motivating factor, played a significant role in

the majority vote not to choose Dr. Dillard for PRAD Chair. Dr. Dillard presented testimony that

the PRAD chair position is the type of position needed for career advancement in the academic

setting. After choosing not to accept a nomination in 2019 when Dr. Dillard was denied, Dr.

DeMoya stated that: “My thinking at the time was, well, I don't want this job and Sydney does, so

why should I even go up. And I also thought if I am to stay at DePaul, it's going to make my

progression towards full professor eventually better to have this in my record. So honestly, I felt

that even though I still don't like the position, it's still a position I would rather not have, it was the

best choice at the time to both serve the program and to serve my career progression.” To illustrate,

the current PRAD chair, Dr. Chu, decided to step down at the end of her term. Dr. Dillard was the

only person that wanted to run for PRAD chair. Dr. Murphy further concluded that Dr. Dillard was

qualified for the position and possessed the requisite leadership. There is evidence pointing to




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discriminatory actions, such as derogatory comments regarding her work and her disability. These

comments, such as "does she even work here" or "she was on leave more than she taught," not

only reflect an insensitivity to her condition but also indicate a potential bias against her disability

Fox v. General Motors Corp., 247 F.3d 169, 179 (2001) (concluding that harassment was

attributable to plaintiff's and other disabled employees' medical conditions because the terms

handicapped MF and hospital people “expressly referenced their disabilities and resulting medical

restrictions”). Dr. Dillard perceived it as such. (PSOF ¶¶). The evidence makes clear that a

reasonable jury could find that Dr. Dillard was harassed and that the harassment was because of

and based upon her seizure disorder. Dr. Murphy further confirmed that Dr. Dillard was “absent”

from campus (her disability leave). The evidence also shows bias based on Mr. Azarro’s testimony

that the PRAD chair is a “thankless job.” DePaul, by contrast, has failed to provide evidence that

if the discriminatory factor had been absent, Dr. Dillard would still have been voted down as PRAD

chair. Jew v. University of Iowa, 749 F. Supp. 946, 960-61 (S.D. Iowa 1990).

        The harassment was sufficiently severe and pervasive to adversely affect Dr. Dillard’s

health and well-being. Her neurologist also presented sufficient facts that her stressful work

environment caused the onset of her seizure disorder. (PSOF ¶¶ 80-81, 83). Dr. Dillard made Dr.

Ghanem aware of how stress exacerbated her condition (PSOF ¶¶81-82). Dr. Dillard presented

credible testimony that she felt humiliated and ashamed because she was complaining about

suffering from discrimination, yet DePaul’s administration did nothing. The pervasiveness and

severity are exacerbated because of the nature of Dr. Dillard’s workplace, which necessitates

interaction with colleagues throughout the University and with students from the program, the

College and other divisions of the University. Jew v. University of Iowa, 749 F. Supp. 946, 958-

59 (S.D. Iowa 1990).




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        Dr. Dillard establishes a triable issue of fact as to her hostile work environment claim based

on her disability. That Dr. Dillard was able to continue performing her job well is not dispositive,

as Defendant suggests. Interference with work performance is only one factor among many in the

calculus. Johnson, 892 F.3d at 900–01, 2018 WL 2753066, at *8. Resilient employees who manage

to perform well in trying circumstances may still prove a hostile environment claim. Id.

EQUAL PAY ACT - PLAINTIFF WITHDRAWS THIS COUNT.

   V.      CONCLUSION

For the foregoing reasons, Defendant’s Motion for Summary Judgment should be denied in its

entirety. DePaul has fallen far short of showing what is necessary to justify the drastic remedy they

seek.

                                                                             Respectfully submitted,

                                                                                  Dr. Sydney Dillard

                                                     Gianna Scatchell Basile (one of her attorneys)

                                 CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that she served the foregoing Plaintiff’s Response to

Defendant’s Motion for Summary Judgment and Memorandum of Law in Support of their Motion

for Summary Judgment on all counsel of record via this Court’s CM/ECF filing system on

December 26, 2023, and that all such counsels are registered e-filers.

                                                                          s/ Gianna Scatchell Basile




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